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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

Case No. CV 19-07218-CJC-GJS                                     Date: August 28, 2019

Title: CHRIS LANGER V. MYER PROPERTY LLC, ET AL.



PRESENT:

  HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

      Gabriela Garcia                                      N/A
      Deputy Clerk                                     Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:             ATTORNEYS PRESENT FOR DEFENDANT:

      None Present                                     None Present

PROCEEDINGS: (IN CHAMBERS) ORDER TO SHOW CAUSE AS TO WHY
THIS COURT SHOULD NOT DECLINE TO EXERCISE SUPPLEMENTAL
JURISDICTION OVER PLAINTIFF’S UNRUH ACT CLAIM

       On August 20, 2019, Plaintiff Chris Langer filed this action against Defendants,
alleging violations of the Americans with Disabilities Act (“ADA”) and California’s
Unruh Civil Rights Act (“Unruh Act”). (Dkt. 1 [Complaint, hereinafter “Compl.”].)
Plaintiff seeks injunctive relief under the ADA and statutory damages under the Unruh
Act. (Id. ¶ 42.) Plaintiff contends that this Court has jurisdiction over his ADA claim
based on the existence of a federal question and jurisdiction over his Unruh Act claim
based on supplemental jurisdiction. (Id. ¶¶ 9–10.)

       Supplemental jurisdiction “is a doctrine of discretion, not of plaintiff’s right.”
United Mine Workers v. Gibbs, 383 U.S. 715, 726 (1966). District courts have discretion
to decline to exercise supplemental jurisdiction if: “(1) the claim raises a novel or
complex issue of State law, (2) the claim substantially predominates over the claim or
claims over which the district court has original jurisdiction, (3) the district court has
dismissed all claims over which it has original jurisdiction, or (4) in exceptional
circumstances, there are other compelling reasons for declining jurisdiction.” 28 U.S.C.
§ 1367(c).

      A number of federal district courts across California have declined to exercise
supplemental jurisdiction over Unruh Act claims brought alongside ADA claims, citing
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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

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28 U.S.C. §§ 1367(c)(2) & (c)(4). See, e.g., Schutza v. Cuddeback, 262 F. Supp. 3d
1025, 1030–31 (S.D. Cal. 2017) (declining to exercise supplemental jurisdiction because
(1) “Plaintiff’s state law claim under the Unruh Act substantially predominates over his
federal claim” and, (2) because “it would be improper to allow Plaintiff to use federal
court as an end-around to California’s pleading requirements.”). The Court orders
Plaintiff to show cause as to why it should not decline to exercise supplemental
jurisdiction over his Unruh Act claim for similar reasons.

        Plaintiff shall file a response to this Order to Show Cause by September 9, 2019.
In his response, Plaintiff shall identify the amount of statutory damages he seeks to
recover. Plaintiff and his counsel shall also include declarations in their responses which
provide all facts necessary for the Court to determine if they satisfy the definition of a
“high-frequency litigant” as provided by California Civil Procedure Code
§§ 425.55(b)(1) & (2).


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